            Case 3:20-cv-11765-MGM Document 39 Filed 02/11/21 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
                                   SPRINGFIELD DIVISION

MASSACHUSETTS FAIR HOUSING
  CENTER,
HOUSING WORKS, INC.,
       Plaintiffs,                                      No. 3:20-cv-11765-MGM
                v.                                      The Hon. Mark G. Mastroianni
U.S. DEPARTMENT OF HOUSING AND
   URBAN DEVELOPMENT,
MATT AMMON, Acting Secretary of the U.S.
 Department of Housing and Urban
 Development, 1
       Defendants.

                         DEFENDANTS’ UNOPPOSED MOTION TO
                                STAY PROCEEDINGS

       In accordance with L.R. 7.1, Defendants move unopposed for a stay of proceedings in this

case. In support of this motion, Defendants state as follows:

       1.       Plaintiffs served their Summons and Complaint on the U.S. Attorney for the District

of Massachusetts on October 1, 2020. See Summons & Compl., ECF No. 1. Defendants’ current

deadline to respond to Plaintiffs’ Complaint is February 16, 2021. See Order, ECF No. 38.

       2.       Plaintiffs challenge Defendants’ issuance of a final rule and have sought a stay of the

effective date of that rule pursuant to 5 U.S.C. § 705. See U.S. Dep’t of Hous. & Urban Devel.

(“HUD”), HUD’s Implementation of the Fair Housing Act’s Disparate Impact Standard (“Final

Rule”), 85 Fed. Reg. 60288 (Sept. 24, 2020) (the “2020 Rule”); Pls.’ Mot. for Prelim. Inj. Under 5

U.S.C. § 705 to Postpone Effective Date of HUD’s Final Rule (“Pls.’ Stay Mot.”); ECF No. 11.

       3.       On October 25, 2020, this Court issued an order granting Plaintiffs’ Stay Motion and



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          In accordance with Federal Rule of Civil Procedure 25(d), Matt Ammon is substituted in his
official capacity as Acting Secretary of Housing and Urban Development for his predecessor.

                                                   1
               Case 3:20-cv-11765-MGM Document 39 Filed 02/11/21 Page 2 of 4



staying the effective date of the Final Rule. See Order, ECF No. 29. On December 23, 2020,

Defendants filed a notice of appeal of this Court’s Order. See Defs.’ Not. of Appeal, ECF No. 33. On

February 9, 2021, Defendants filed a motion, with Plaintiffs’ consent, to voluntarily dismiss their

appeal.

          4.      On January 26, 2021, President Biden issued a Presidential Memorandum that

instructed that HUD

          shall also, as soon as practicable, take all steps necessary to examine the effects of the
          September 24, 2020, rule entitled “HUD’s Implementation of the Fair Housing Act’s
          Disparate Impact Standard” (codified at part 100 of title 24, Code of Federal Regulations),
          including the effect that amending the February 15, 2013, rule entitled “Implementation of
          the Fair Housing Act’s Discriminatory Effects Standard” has had on HUD’s statutory duty to
          ensure compliance with the Fair Housing Act. Based on that examination, the Secretary shall
          take any necessary steps, as appropriate and consistent with applicable law, to implement the
          Fair Housing Act’s requirements that HUD administer its programs in a manner that
          affirmatively furthers fair housing and HUD’s overall duty to administer the Act (42 U.S.C.
          3608(a)) including by preventing practices with an unjustified discriminatory effect.


Redressing Our Nation's and the Federal Government’s History of Discriminatory Housing Practices

and Policies, 86 FR 7487 (published Jan. 29, 2021). HUD is already actively considering its path

forward in implementing the Presidential directive.

          5.      HUD requests a stay of proceedings in this case to provide additional time to

complete its implementation of the Presidential directive. Counsel for the parties will confer at least

once every thirty (30) days after entry of the requested stay for Defendants to provide an update of

HUD’s progress, and Defendants propose to file a status report with the court within fourteen (14)

days of completion of the initial stage of HUD’s administrative review process.

          6.       Plaintiffs will not be prejudiced by the proposed stay of proceedings in this case. This

Court’s § 705 stay remains in effect; the 2020 Rule never became effective; and Defendants have

withdrawn their appeal. Further, Defendants commit that they will not seek to lift this Court’s § 705

stay during the pendency of the requested stay of proceedings in this case.

          7.      Defendants conferred with Plaintiffs about this motion pursuant to L.R. 7.1(a)(2).


                                                      2
          Case 3:20-cv-11765-MGM Document 39 Filed 02/11/21 Page 3 of 4




Plaintiffs do not oppose this motion, but reserve their right to move to lift the stay of these

proceedings at any time.

                                           CONCLUSION

        For good cause shown herein, this Court should grant Defendants’ unopposed motion to stay

the proceedings in this case. A proposed order is attached.



Dated: February 11, 2021

                                                Respectfully submitted,

                                                MICHAEL D. GRANSTON
                                                Deputy Assistant Attorney General

                                                LESLEY FARBY
                                                Assistant Branch Director

                                                s/ Vinita B. Andrapalliyal
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                                                    3
          Case 3:20-cv-11765-MGM Document 39 Filed 02/11/21 Page 4 of 4




                        L.R. 7.1(a)(2) CERTIFICATE OF CONFERENCE

       Pursuant to L.R. 7.1(a)(2), Defendants conferred with Plaintiffs about this motion. Plaintiffs
do not oppose this motion.

                                        s/ Vinita B. Andrapalliyal
                                        VINITA B. ANDRAPALLIYAL

                                    CERTIFICATE OF SERVICE

         Pursuant to Fed. R. Civ. P. 5(b)(2)(E), Defendants effected service of this filing on all other
parties to these actions by filing it with the Court’s electronic filing system.

                                        s/ Vinita B. Andrapalliyal
                                        VINITA B. ANDRAPALLIYAL




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